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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                              Case No. 06-cr-134-02-SM

Raymond Jackson

                                    ORDER

      Defendant Jackson’s motion to continue the final pretrial conference and

trial is granted (document 36).     Trial has been rescheduled for the June 2007

trial period. Defendant Jackson shall file a waiver of speedy trial rights not later

than April 25, 2007. On the filing of such waiver, his continuance shall be

effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: June 1, 2007 at 2:30 p.m.

      Jury Selection: June 5, 2007 at 9:30 a.m.
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      SO ORDERED.



                                  ____________________________
                                    Steven J. McAuliffe
                                    Chief Judge

April 17, 2007

cc:   Paul Garrity, Esq.
      Mark Howard, AUSA
      US Probation
      US Marshal




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